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                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA



****************************************
                                        *
THOMAS BRUCE                            *               CIVIL ACTION NO.
                                        *
VERSUS                                  *               2:17-cv-03940-JTM-JCW
                                        *
ANCRA INTERNATIONAL, LLC                *
                                        *
****************************************

                   JOINT REQUESTED JURY INSTRUCTIONS

       NOW INTO COURT, through undersigned counsel, come Plaintiff, Thomas

Bruce, and Defendant, Ancra International, LLC, who submit the following joint requested

jury instructions with the noted objections and responses.


                                          Respectfully submitted,

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              JOINT REQUESTED PATTERN JURY INSTRUCTIONS

        Plaintiff and Defendant have jointly requested the following Pattern Jury

Instructions. Plaintiff does not object to the inclusion of Pattern Charge 15.4 or 15.7;

however, Plaintiff does not have a claim for either property damage or punitive damages.

These pattern charges were requested by Defendant but would seem inappropriate in this

case; however, Plaintiff does not object if the Court wishes to give them:

1.1     Instructions for Beginning of Trial

1.2     Preliminary Instructions to Jury

2.1     First Recess

2.2     Stipulated Testimony

2.3     Stipulations of Fact

2.4     Judicial Notice

2.16    Corporate Party

3.2     Burden of Proof

3.3     Evidence

3.4     Witnesses

3.5     Expert Witnesses

3.7     Duty to Deliberate; Notes

15.1-
15.7 Damages




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             PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 1


       An injured party may recover damages from a manufacturer of a product if the

damages arose during the reasonably anticipated use of the product because the product

was defective. “A claimant may recover under the [Louisiana Products Liability] Act by

proving that the damage arose from a reasonably anticipated use of the product and that the

product is unreasonably dangerous in at least one of the following ways:               (1)   in

construction or composition; (2) in design; (3) for inadequate warning; or, (4) for

the product’s failure to conform to an express warranty of the manufacturer.


       La. R.S. 9:2800.54;

       State Farm Mut. Auto. Ins. Co. v. Wrap-On Co., Inc.,
              626 So.2d 874, 876 (La. App. 3rd Cir. 1993); writ denied,
              630 So.2d 800 (La. 1994).


DEFENDANT’S OBJECTION:

       Ancra objects to this instruction to the extent it gives the jury an option to find that

the winch bar was unreasonably dangerous in design, or because the winch bar failed to

comply with an express warranty. There is no evidence of improper design nor of

inadequate warning nor of failure to confirm to an express warranty, nor has plaintiff made

those claims against Ancra. See the last paragraph of plaintiff’s Material Facts, Paragraph

6 of the Pre-Trial Order. Ancra requests that the second sentence be changed to read:




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       Here, plaintiff may recover by proving that his injury arose from a
       reasonably anticipated use of the product and that the product is
       unreasonably dangerous either in construction or composition.


PLAINTIFF’S RESPONSE TO OBJECTION:

       Defendant is correct that Plaintiff is not claiming a design defect or a breach of

express warranty. However, this is a standard products liability charge given to explain

the function of the products liability act and normally given before instructions as to the

specific types of defects claimed.




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               PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 2


         A reasonably anticipated use means a use or handling of a product that the product’s

manufacturer should reasonably expect of an ordinary person in the same or similar

circumstances as the Plaintiff. Reasonably anticipated use includes a reasonably

anticipated alteration or modification or includes changes arising from ordinary wear and

tear.



         La. R.S. 9:2800.53(7);

         La. R.S. 9:2800.53 (7) and (8);

         Dunn v. Wal-Mart Stores, Inc., 679 So.2d 1034, 1037 (La. App. 1 Cir. 1996).


DEFENDANT’S OBJECTION:

         Ancra objects to the second sentence of this instruction. It improperly combines

two separate definitions in La.R.S. 9:2800(7) and La.R.S. 9:2800(8); 2800(8) does not

modify or relate to 2800(7). Also, the cited case does not support the second sentence of

the instruction, as that case did not mention La.R.S. 9:2800(8), and did not involve an

alteration or modification at all. The instant case also does not involve an alteration or

modification of the winch bar.




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PLAINTIFF’S RESPONSE TO OBJECTION:

       The jury charge quoted above is an accurate statement of the provisions of La. R.S.

9:2800.53 (7) and (8).       La. R.S. 9:2800.53 states that ordinary wear and tear is a

reasonably anticipated alteration or modification. It also states that a change in a product

that the product’s manufacturer should reasonably expect to be made by an ordinary person

in the same or similar circumstances is a reasonably anticipated alteration or modification.

Defendant’s objection makes no sense. Defendant has claimed that the bar was misused

or overused; therefore, this jury charge, as it relates to ordinary wear and tear, is both

appropriate and necessary.




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             PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 3


       Reasonably anticipated alteration or modification means a change in a product that

the product’s manufacturer should reasonably expect, including a change arising from

ordinary wear and tear.



       La. R.S. 9:2800.53 (7) and (8).


DEFENDANT’S OBJECTION:

       Ancra objects to this instruction, as it improperly combines two separate definitions

in La.R.S. 9:2800(7) and La.R.S. 9:2800(8); 2800(8) does not modify or relate to 2800(7).

Moreover, no alteration or modification was ever made to the winch bar.



PLAINTIFF’S RESPONSE TO OBJECTION:

       The jury charge quoted above is an accurate statement of the provisions of La. R.S.

9:2800.53 (7) and (8).       La. R.S. 9:2800.53 states that ordinary wear and tear is a

reasonably anticipated alteration or modification. It also states that a change in a product

that the product’s manufacturer should reasonably expect to be made by an ordinary person

in the same or similar circumstances is a reasonably anticipated alteration or modification.

Defendant’s objection makes no sense. Defendant has claimed that the bar was misused

or overused; therefore, this jury charge, as it relates to ordinary wear and tear, is both

appropriate and necessary.

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                 JOINT REQUESTED JURY INSTRUCTION NO. 4


       A product is unreasonably dangerous in construction or composition if, at the time

the product left its manufacturer’s control, the product deviated in a material way from the

manufacturer’s specifications or performance standards for the product or from otherwise

identical products manufactured by the same manufacturer.



       La. R. S. 9:2800.55.




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             PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 5


       A product is unreasonably dangerous because an adequate warning about the

product has not been provided if, at the time it left its manufacturer’s control, the product

possessed a characteristic that may cause damage, and the manufacture failed to use

reasonable care to provide adequate warning of such characteristic and its dangers to users

and handlers of the product.



       La. R.S. 9:2800.57(A);

       Thomas v. Clairol, Inc., 583 So.2d 108, 110 (La. App. 3 Cir. 1991).


DEFENDANT’S OBJECTION:

       Ancra objects to this instruction because plaintiff has not made a claim that the

winch bar had a dangerous characteristic in this case. Even if such a claim had been made,

the Fifth Circuit has held that, “ . . . a plaintiff must provide evidence about the ‘cause,

frequency, severity, or consequences’ of the dangerous characteristic in question.” Stahl

v. Novaris Pharms. Corp., 283 F.3d 254, 264 (5th Cir. 2002). [Citations omitted.]

Plaintiff’s claims in the instant case are, specifically, “The winch bar that injured Mr.

Bruce contained a manufacturing defect,” and, “The manufacturing defect was the cause of

Mr. Bruce’s accident.” See Pre-Trial Order, R. Doc. 44, p. 6 of 24. His claims are for a

manufacturing defect, not a dangerous characteristic.




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PLAINTIFF’S RESPONSE TO OBJECTION:

       The issue of warnings has been raised by Defendant, not Plaintiff. Defendant is

attempting to use a warning (generally a warning that was on the bar subsequent to the time

that this bar was manufactured and sold) to somehow demonstrate misuse on the part of the

Plaintiff. To counter that defense, Plaintiff has raised the issue that there was a change in

the warning between the time that the subject bar was sold and the time that the warning

upon which Defendant relies was placed on the bar. The warning contained on the bar at

the time the subject bar was sold had no cautions relating to orientation of the tip of the bar

during use. That was subsequently changed. If, as Defendant contends, the bar was

more likely to break in tip down use (again the Defendant’s contention not the Plaintiff’s),

Plaintiff is entitled to assert that the warning was inadequate.




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             PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 6


       A product may be unreasonably dangerous if a manufacturer fails to adequately

warn about a danger that is related to the way the product is designed.


       Sharkey v. Sterling Drug, Inc., 600 So.2d 701, 707 (La. App. 1 Cir.),
             writ denied, 605 So.2d 1099 (La. 1992), and writ denied,
             605 So. 2d 1100 (La. 1992).


DEFENDANT’S OBJECTION:

       Ancra objects to this instruction because plaintiff has never made a claim that the

winch bar failed because of the way it is designed. Plaintiff’s claims in the instant case

are, specifically, “The winch bar that injured Mr. Bruce contained a manufacturing defect,”

and, “The manufacturing defect was the cause of Mr. Bruce’s accident.” See Pre-Trial

Order, R. Doc. 44, p. 6 of 24. His claims are for a manufacturing defect, not a design

characteristic. Also, the cited case is a pre-LPLA cases, decided under the Halphen

[v.Johns-Manville Sales Corp., 484 So.2d 110 (La. 1986)] standard of “unreasonably

dangerous per se” which is not the standard since the passage of the LPLA.



PLAINTIFF’S RESPONSE TO OBJECTION:

       The issue of warnings has been raised by Defendant, not Plaintiff. Defendant is

attempting to use a warning (generally a warning that was on the bar subsequent to the time

that this bar was manufactured and sold) to somehow demonstrate misuse on the part of the


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Plaintiff. To counter that defense, Plaintiff has raised the issue that there was a change in

the warning between the time that the subject bar was sold and the time that the warning

upon which Defendant relies was placed on the bar. The warning contained on the bar at

the time the subject bar was sold had no cautions relating to orientation of the tip of the bar

during use. That was subsequently changed. If, as Defendant contends, the bar was

more likely to break in tip down use (again the Defendant’s contention not the Plaintiff’s),

Plaintiff is entitled to assert that the warning was inadequate.




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               PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 7


       Adequate warning means a warning or instruction that would allow an ordinary,

reasonable user or handler of a product to contemplate the danger in using or handling the

product and either decline to use or handle the product or, if possible, to use or handle the

product in such a manner as to avoid the damage for which the claim is made.



       La. R.S. 9:2800.53(9).


DEFENDANT’S OBJECTION:

       “Inadequate warning” claims are connected with a claim for an inherent

characteristic of a product, not for a claim of manufacturing defect. Ancra objects to this

instruction.



PLAINTIFF’S RESPONSE TO OBJECTION:

       The issue of warnings has been raised by Defendant, not Plaintiff. Defendant is

attempting to use a warning (generally a warning that was on the bar subsequent to the time

that this bar was manufactured and sold) to somehow demonstrate misuse on the part of the

Plaintiff. To counter that defense, Plaintiff has raised the issue that there was a change in

the warning between the time that the subject bar was sold and the time that the warning

upon which Defendant relies was placed on the bar. The warning contained on the bar at

the time the subject bar was sold had no cautions relating to orientation of the tip of the bar

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during use. That was subsequently changed. If, as Defendant contends, the bar was

more likely to break in tip down use (again the Defendant’s contention not the Plaintiff’s),

Plaintiff is entitled to assert that the warning was inadequate.




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             PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 8


       In the context of a manufacturer’s duty to warn of dangers in the use of a product,

the manufacturer is obligated to anticipate the circumstances and/or environment in which

the product will be used and to give notice of the potential risks arising from foreseeable

use in the foreseeable circumstances and/or environment.



       Johnson v. Chicago Pneumatic Tool Co., 607 So.2d 615, 617
             (La. App. 1 Cir.), writ denied, 607 So.2d 109 (La. 1992);

       Johnson v. Hartford Insurance Co., 623 So.2d 35 (La. App. 1 Cir.),
             writ denied, 626 So.2d 1170 (La. 1993).


DEFENDANT’S OBJECTION:

       Ancra objects to this instruction. “Inadequate warning” claims are connected with

a claim for an inherent characteristic of a product, not for a claim of manufacturing defect.

The instruction also is a mis-statement of the law. Both of the cited cases are pre-LPLA

cases, decided under the Halphen [v.Johns-Manville Sales Corp., 484 So.2d 110 (La.

1986)] standard, requiring the plaintiff to prove that the product was unreasonably

dangerous to normal use.      Johnson, 607 So.2d at 617.        “The LPLA’s ‘reasonably

anticipated use’ standard should be contrasted with the pre-LPLA ‘normal use’ standard.”

Kampen v. American Isuzu Motors,157 F.3d 306, 309 (5th Cir. 1998). The LPLA changed

the standard from “normal use” to “reasonably anticipated use.”


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PLAINTIFF’S RESPONSE TO OBJECTION:

       The issue of warnings has been raised by Defendant, not Plaintiff. Defendant is

attempting to use a warning (generally a warning that was on the bar subsequent to the time

that this bar was manufactured and sold) to somehow demonstrate misuse on the part of the

Plaintiff. To counter that defense, Plaintiff has raised the issue that there was a change in

the warning between the time that the subject bar was sold and the time that the warning

upon which Defendant relies was placed on the bar. The warning contained on the bar at

the time the subject bar was sold had no cautions relating to orientation of the tip of the bar

during use. That was subsequently changed. If, as Defendant contends, the bar was

more likely to break in tip down use (again the Defendant’s contention not the Plaintiff’s),

Plaintiff is entitled to assert that the warning was inadequate.




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              PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 9


       The duty of a manufacturer to warn is continuing. A manufacturer of a product

who, after the product has left his control, acquires knowledge of a characteristic of the

product that may cause damage and the danger of such characteristic, or who would have

acquired such knowledge had he acted as a reasonable prudent manufacturer, is liable for

damage caused by his subsequent failure to use reasonable care to provide an adequate

warning of such characteristic and its danger to users and handlers of the product.




       La. R.S. 9:2800.57(C).


DEFENDANT’S OBJECTION:

       Ancra objects to this instruction. Plaintiff has not made a claim regarding a

characteristic of the winch bar which makes it unreasonably dangerous; such a claim is a

one for failure in design, which has not been made here. Plaintiff claims that the winch

bar was unreasonably dangerous because of a manufacturing defect. Plaintiff’s claims in

the instant case are, specifically, “The winch bar that injured Mr. Bruce contained a

manufacturing defect,” and, “The manufacturing defect was the cause of Mr. Bruce’s

accident.”    See Pre-Trial Order, R. Doc. 44, p. 6 of 24.          His claims are for a

manufacturing defect, not a design characteristic. Moreover, the first sentence of the

instruction is not part of the statute plaintiff cites.


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PLAINTIFF’S RESPONSE TO OBJECTION:

       Again, the issue of warning, and the changes in the warning, were interposed into

this matter by Defendant, not Plaintiff. If indeed use of the bar in one orientation was

more likely to cause failure than the use of the bar in another, the Defendant had a duty to

warn. There is no evidence that that occurred in this case and, in fact, Defendant’s own

expert admitted that such “misuse” would not be a causative factor in the accident. If

Defendant does not intend to claim misuse in the way in which the bar was operated, these

jury instructions will not be needed.




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            PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 10


       [A] manufacturer is held to the knowledge and skill of an expert . . . [and] must keep

abreast of scientific knowledge, discoveries, and advances and is presumed to know what

is imparted thereby, as related to the manufacturer’s product.

       Under [the] failure to warn theory, evidence as to the knowledge and skill of an

expert may be admissible in determining whether the manufacturer breached its duty.



       Simeon v. Doe, 618 So.2d 848, 852 (La. 5/24/1993).


DEFENDANT’S OBJECTION:

       Ancra objects to this instruction. The cited case involved an injury which occurred

in 1986 [618 So.2d at 849], two years before the LPLA was enacted, and the case was

decided under the pre-LPLA Halphen [v.Johns-Manville Sales Corp., 484 So.2d 110 (La.

1986)] standard, requiring the plaintiff to prove that the product was unreasonably

dangerous to normal use.      Johnson, 607 So.2d at 617.         “The LPLA’s ‘reasonably

anticipated use’ standard should be contrasted with the pre-LPLA ‘normal use’ standard.”

Kampen v. American Isuzu Motors, 157 F.3d 306, 309 (5th Cir. 1998). The LPLA changed

the standard from “normal use” to “reasonably anticipated use.”




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PLAINTIFF’S RESPONSE TO OBJECTION:

       Again, the issue of warning, and the changes in the warning, were interposed into

this matter by Defendant, not Plaintiff. If indeed use of the bar in one orientation was

more careless than the use of the bar in another, the Defendant had a duty to warn. There

is no evidence that that occurred in this case and, in fact, Defendant’s own expert admitted

that such “misuse” would not be a causative factor in the accident. If Defendant does not

intend to claim misuse in the way in which the bar was operated, these jury instructions

will not be needed.




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            PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 11



       [W]here the manufacturer fails to give an adequate warning, a presumption arises

that the user would have read and heeded an adequate warning.

       Isgitt v. State Farm Ins. Co., No. 13-204 (La. App. 3rd Cir. 10/16/2013),
       156 So. 3d 669, 673.


DEFENDANT’S OBJECTION:

       Ancra objects to this instruction. This case does not involve a characteristic of the

winch bar which allegedly makes it dangerous. Plaintiff’s claims are for a manufacturing

defect, for which no adequate warning can be given. Also, the cited case was not decided

under the LPLA.




PLAINTIFF’S RESPONSE TO OBJECTION:

       Again, the issue of warning, and the changes in the warning, were interposed into

this matter by Defendant, not Plaintiff. If indeed use of the bar in one orientation was

more careless than the use of the bar in another, the Defendant had a duty to warn. There

is no evidence that that occurred in this case and, in fact, Defendant’s own expert admitted

that such “misuse” would not be a causative factor in the accident. If Defendant does not

intend to claim misuse in the way in which the bar was operated, these jury instructions

will not be needed.



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             PLAINTIFF’S REQUESTED JURY INSTRUCTION NO. 12


        A person or entity who labels a product as his own or who otherwise holds himself

out to be the manufacturer of the product becomes a manufacturer under the Louisiana

Products Liability Act.    A manufacturer is liable for all defects in the product.



        La. R.S. 9:2800.53.


DEFENDANT’S OBJECTION:

        A non-manufacturing seller who does not vouch for the product by holding it out s

his own does not incur liability under the Louisiana Product Liability Act, but is

responsible for damages only if he knew or should have known that the product sold was

defective, and failed to declare it.

        Reaux v. Deep South Equipment Co., 2002-1571 (La. App. 4th Cir. 01/05/03), 840

So.2d 20, 23.

        To find liability in this context, three requirements must be met:            First, the

product sold by the seller must be defective; Second, the seller must have actual or

constructive knowledge that the product it sold was defective; Third, the seller must have

failed to declare the defect.

        Alexander v. Toyota Motor Sales, U.S.A., 13-0756 (La. 09/27/13), 123 So.3d 712,

714.




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PLAINTIFF’S RESPONSE TO OBJECTION:

      The cases cited by Defendant are completely inapposite. Both of those cases

involved sellers who had not made themselves manufacturers under the LPLA. Ancra is a

manufacturer, not, as in those cases, a seller only. Their involvement was purely as the

seller, and those cases related only to sellers with knowledge of a defect. The quotes

themselves show that the cases cited are not apposite “a non-manufacturing seller.”

Defendant’s objections have no merit whatsoever.




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               JOINT REQUESTED JURY INSTRUCTION NO. 13


      A seller of a product who exercises control over or influences a characteristic of

design, construction, or quality of the product which causes damage is a manufacturer

under Louisiana law.



      La. R.S. 9:2800.53(1)(b).




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                 JOINT REQUESTED JURY INSTRUCTION NO. 14


       The plaintiff is entitled to recover if he proves that it is more likely than not that the

fault of one or more of the defendants was a legal or proximate cause of his injuries.

Under Louisiana law, a defendant’s legal fault is a cause in fact of a plaintiff’s harm if that

fault “in any way contributed to the harm.”




       Pastor v. Lafayette Building Assn., 567 So.2d 793, 795-796 (La. App. 3rd Cir.
              1990);

       Antee v. Southern Pacific Transportation Co., 627 So.2d 798, 800 (La. App.
              2nd Cir. 1993);

       Faucheaux v. Terrebonne Consolidated Government, 615 So.2d 289, 292
             (La. 1993);

       Dixie Drive-It-Yourself System v. American Beverage Co., 242 La. 471,
             481-482, 137 So.2d 298 (La. 1962);

       Brown v. Louisiana Department of Highways, 373 So.2d 605, 608 (La. App.
            3rd Cir. 1979);

       Mathieu v. Imperial Toy Corp., 632 So.2d 375, 379 (La. App. 4th Cir. 1994).




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                 JOINT REQUESTED JURY INSTRUCTION NO. 15


       Comparative fault is a defense to a tort suit and the defendant must prove that the

plaintiff was [comparatively] negligent.

       The test for [comparative fault] is the same as for primary negligence and is that

conduct which falls below the standard to which a person should conform for his own

safety and protection, the standard being that of a reasonable person in like circumstances.

The burden of proving [comparative fault] must be borne by the defendant.

       In other words, the plaintiff is not required to disprove or to negate any alleged

comparative fault. It is up to the defendant to prove by a preponderance of the evidence,

not merely that the plaintiff was negligent, but also that this negligence was a proximate

cause of the injuries for which the plaintiff seeks to recover.



       Louisiana Civil Code Article 2323;

       Smith v. Travelers Insurance Company, 430 So.2d 55, 59 (La. 1983) citing
             Tucker v. Lirette, 400 So.2d 647 (La. 1981);

       Davis v. New Orleans Public Belt Railroad, 375 So.2d 395, 397 (La. App. 4th
              Cir. 8/21/1979); Corrected on Denial of Rehearing Oct. 12, 1979,
              citing Pfister v. Phoenix of Hartford Insurance Company, 290 So.2d
              362 (La. App. 4th Cir. 1974).




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                 JOINT REQUESTED JURY INSTRUCTION NO. 16

       To the extent that a party defendant seeks to have the benefit of comparative fault as

a defense, it bears the burden of proof that the other party’s fault was a cause in fact of the

damage being complained about.



       Robinette v. Lafon Nursing Facility of the Holy Family, 2015-1363
             (La. App. 4th Cir. 6/22/17), 223 So.3d 68.




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                JOINT REQUESTED JURY INSTRUCTION NO. 17


       Each case involving personal injury is unique and must be evaluated according to its

own peculiar facts and circumstances. The general rule in Louisiana is that anyone who

causes harm to another is responsible to the injured party in civil damages. These

damages include compensation for past and future medical expenses incurred and loss of

earning capacity. These actual expenses are known as special damages.

       In addition to special damages, Louisiana law allows a victim in a personal injury

case to receive general damages in an amount that is consistent with the evidence.

General damages include past and future emotional distress, past and future physical pain

and suffering, past and future mental anguish, physical disfigurement, physical disability,

loss of consortium, and the like.

       Your award should be designed fully and fairly to compensate Thomas Bruce, if

you conclude that plaintiff has proven injuries due to the fault of the defendant or due to a

defect in defendant’s winch bar.

       The law is fully cognizant of the difficulty in translating personal injuries into a

dollars and cents figure that can fairly and adequately compensate the plaintiff for damages

already suffered and for damages likely to be suffered in the future. This means that you

may make an effort to reasonably approximate the damages which plaintiff has proved are

more probable than not, even though some damages cannot be computed with

mathematical certainty.

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 6 La. Civ. L. Treatise, Law of Obligations §8.6 (2d. ed.), Special vs. General
        Damages;

 Louisiana Civil Code Article 2315;

 Hebert v. Domingue, 473 So.2d 120, 127 (La. App. 3rd Cir.), writ den’d, (La.
       1985);

 Harrington v. City of Abbeville, 471 So.2d 1160, 1164 (La. App. 3rd Cir.
       1985);

 Reck v. Stevens, 373 So.2d 498, 501 (La. 1970);

 Champagne v. Lee, 470 So.2d 378, 381-382 (La. App. 5th Cir.), writ
      dismissed, 472 So.2d 911 (La. 1985);

 Freeman v. Harold Dickey Transport, Inc., 467 So.2d 194, 196-198 (La.
      App. 3rd Cir. 1985);

 Holmes v. Texaco, Inc., 422 So.2d 1302, 1305 (La. App. 5th cir. 1982).




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                JOINT REQUESTED JURY INSTRUCTION NO. 18


      A product is unreasonably dangerous in construction or composition if, at the time it

left the manufacturer’s control, it deviated in a material way from the manufacturer’s

specifications or performance standards for the product or from otherwise identical

products manufactured by the same manufacturer. In order to recover, a claimant must

demonstrate not only what a manufacturer’s specifications or performance standards are

for a particular product, but how the product in question materially deviated from those

standards so as to render it “unreasonably dangerous.”



      La. R.S. 9:2800.55;
      Welch v. Technotrim, Inc., 34,355 (La. App. 2d Cir. 01/24/01), 778 So.2d
            728, 733. [Internal citations omitted.]




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                JOINT REQUESTED JURY INSTRUCTION NO. 19

      You must not conclude from the happening of an injury that it was any Defendant’s

conduct that caused Plaintiff’s injury. Plaintiff must prove by a preponderance of the

evidence that Defendant’s conduct caused Plaintiff’s harm.



      Watkins v. Kerr-McGee Oil Industries, Inc., 460 So.2d 763, 764
            (La App 3rd Cir. 1984).




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                JOINT REQUESTED JURY INSTRUCTION NO. 20

       The weight to be accorded to the testimony of experts depends largely on their

qualifications and the facts on which they base their opinions. In weighing opposing

expert opinions you should consider the education and experience of the expert in the

particular science or field, the reasons given in support of the opinion, and other evidence

which supports or detracts therefrom.



       Cockerham v. Atlantic Richfield Co., 615 So.2d 547, 554-555
             (La. App. 3d Cir. 3/3/93).




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